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 9                                UNITED STATES DISTRICT COURT
10                              SOUTHERN DISTRICT OF CALIFORNIA
11
12 UNITED STATES OF AMERICA,                     )   Criminal No. 02-CR-2912-L
                                                 )
13                        Plaintiff,             )   ORDER RE: DEFENDANT’S
                                                 )   MOTION FOR MORE DEFINITE
14 v.                                            )   STATEMENT
                                                 )
15 ILYAS ALI (3),                                )
                                                 )
16                        Defendant.             )
                                                 )
17                                               )
18         Defendant Ali has filed a motion seeking a more definite statement regarding the reason
19 his ex parte letter to the Court has been rejected. Defendant is advised that Civil Local Rule
20 83.9, made applicable in criminal proceedings pursuant to Criminal Local Rule 1.1(e)(25),
21 provides as follows:
22         Except as otherwise provided by law, attorneys or parties to any action or
           proceeding shall refrain from writing letters to the judge, or otherwise
23         communicating with the judge unless opposing counsel is present. All matters to
           be called to a judge’s attention should be formally submitted as hereinafter
24         provided. Except as authorized by the judge, attorneys shall not send copies to the
           judge of letters sent to others.
25
26         Should Defendant need to bring a matter to the Court’s attention, he must file a motion
27 / / /
28 / / /

                                                                                                 02cr2912
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1 with the Clerk’s Office by submitting the original motion and two conformed copies to the Clerk
2 of this Court. Letters to the judge will continue to be rejected.
3         IT IS SO ORDERED.
4
5 DATED: November 2, 2006
6
                                                     M. James Lorenz
7                                                    United States District Court Judge
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